                              UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF WISCONSIN
                                   GREEN BAY DIVISION


TIMOTHY J. FAST
on behalf of himself and all
others similarly situated,

                 Plaintiff,                                  Case No. 16-CV-1637

       v.

CASH DEPOT, LTD.,

                 Defendant.


                              DECLARATION OF KELLY L. TEMEYER


Pursuant to 28 U.S.C. § 1746, I hereby declare the following to be true under penalty of perjury:

1.     I am an Attorney at Walcheske & Luzi, LLC, counsel for Plaintiff in the above-captioned

       matter.

2.     I have assisted with the litigation of this case by, among other things, drafting and serving

       Plaintiff’s First Set of Interrogatories and Request for Production of Documents

       (“Plaintiff’s first set of discovery”), as I served on Defendant on May 12, 2017. Attached

       hereto as Exhibit A is a true and correct copy of Plaintiff’s First Set of Interrogatories and

       Request for Production of Documents.

3.     Plaintiff’s first set of discovery requested information necessary to support our anticipated

       motion for conditional certification.

       Dated this 22nd day of August, 2017.

                                                      s/ Kelly L. Temeyer
                                                      Kelly L. Temeyer


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